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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                              December 15, 2017
                         UNITED STATES DISTRICT COURT
                                                                               David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

JESUS M SALAS,                                §
                                              §
          Plaintiff,                          §
VS.                                           §   CIVIL ACTION NO. 3:17-CV-166
                                              §
TREY MICHAEL BOWERS, et al,                   §
                                              §
          Defendants.                         §

                                         ORDER

       Before the Court is Plaintiff’s Motion for Dismissal with Prejudice. Dkt. 9. Having

considered the motion and the record of this case as a whole, the Court GRANTS the

motion.

       Accordingly, it is hereby ORDERED that any and all claims, causes of action,

and requests by affirmative relief asserted or requested by Plaintiff against Defendants

are hereby DISMISSED WITH PREJUDICE.

       Costs of court are to abide as incurred.

       All pending motions are hereby DENIED as moot.

       This is a Final Judgment.

       SIGNED at Galveston, Texas, this 15th day of December, 2017.


                                              ___________________________________
                                              George C. Hanks Jr.
                                              United States District Judge
